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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE 318 RETAIL, LLC,                        }
                                              }
       Alleged Debtor                         }       Case No: 22-BK-02485
                                              }
                                              }       Honorable Jaqueline P. Cox

  RECEIVER’S MOTION FOR DISMISSAL AND/OR ABSTENTION IN RELATION
                TO INVOLUNTARY BANKRUPTCY CASE

       NOW COMES James E. Sullivan, in his capacity as court-appointed Receiver for the assets

of the Alleged Debtor, 318 Retail LLC, by and through his undersigned attorneys, and hereby

moves the Court for an order dismissing the involuntary bankruptcy petition (the “Involuntary

Petition”) filed by Petitioning Creditor Republic Bank of Chicago (“Republic Bank”) against 318

Retail, LLC. In support thereof, the Receiver respectfully states as follows:

                                   I.      INTRODUCTION

       1.      As the Receiver stated in his Motion for an Extension of Time to Respond to the

Involuntary Petition (Dkt. 21), the Circuit Court of Cook County, in Case No. 2011 D 007463

(hereinafter, the “Receivership Case”), entered an order on August 21, 2020 directing the Receiver,

retired Judge James E. Sullivan, to take control of the assets of not only the respondent in the

Receivership Case, Louis D’Angelo, but also “any business entity in which Louis has an interest,

actual or constructive, including but not limited to...318 Retail, LLC.” (See order appointing

Receiver attached hereto as Exhibit A) (hereinafter, the “Receivership Order”). The Receivership

Order directed the Receiver to “take possession of, manage, and arrange or the sale of…the

property located at 318 S. Michigan Ave., Chicago, IL” (hereinafter, the “Subject Property”). Id.

       2.      Republic Bank has been actively involved in the Receivership Case since February

2021. They initially filed three different Motions to Vacate the Receivership order in the


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Receivership Case as it applies to the Subject Property - (1) a Verified petition to Vacate Portion

of Court Order dated August 21, 2020, (2) An Amended Verified Petition to Vacate Portion of

Court Order dated August 21, 2929, and (3) a Second Amended Verified Petition to Vacate Portion

of Court Order Dated August 21, 2020. All of said motions were all denied or stricken. (Copies

of orders denying said motions attached hereto as Exhibit B). Undeterred, Republic Bank then

appealed the denial of said ruling to the Illinois Appellate Court, but they were again unsuccessful.

(See In re Marriage of W. Kehaulani Lum, 2021 IL App (1st) 210981-U; Copy of opinion attached

hereto as Exhibit C). This attempt by Republic Bank now to bring the matter into the bankruptcy

court, without providing notice to the Receiver, and with an active attempt to deliberately prevent

the Receiver from being heard, is just another example of bad faith conduct on behalf of Republic

Bank. Counsel for Republic Bank admitted at the April 12, 2022 hearing before the Court that

made the deliberate decision not to provide the Receiver with notice of the Involuntary Bankruptcy

Petition. Then, Republic Bank actively filed pleadings opposing the Receiver’s right to contest

the petition (Dkt. 16 and 26).

       3.      In addition to appearing in the Receivership Case and fighting the Receiver at every

turn, Republic Bank also filed a foreclosure case against 318 Retail LLC in the Chancery Division

of the Circuit Court of Cook County (Case No. 2020 CH 01632). Republic Bank is clearly a

vexatious litigant. This Involuntary Bankruptcy filing is nothing more than Republic Bank’s latest

in a series of attempts to disrupt the Receivership Court’s jurisdiction over the 318 S. Michigan

Property and the Receivership Entities.

       4.      As set forth herein, there are multiple grounds for dismissal under Rule 12(b)(6)

of the Federal Rules of Civil Procedure, made applicable by Rule 1011 of the Bankruptcy Rules.

Republic Bank has failed to meet the requirements of section 303 of the Bankruptcy Code



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because (a) Republic Bank does not hold claims that are undisputed, non-contingent and

liquidated; (b) the Involuntary Petition has been filed in bad faith; and (c) abstention and

d i s m i s s a l under section 305(a) are appropriate because continuing the Receivership best

serves the interests of 318 Retail, LLC and its creditors.


                                       II. JURISDICTION

        5.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(A) and (C).

        6.     The statutory bases for the relief sought are sections 303 and 305 of the Bankruptcy

Code.

                                       III.     ARGUMENT

        7.      As explained herein, the Receiver is seeking to have the Involuntary Petition filed

by Republic Bank of Chicago dismissed pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure, for failure to state a claim upon which relief can be granted. Said rule is made

applicable to this matter by Rule 1011 of the Bankruptcy Rules. Specifically, Republic Bank has

failed to comply with Section 303 of the Bankruptcy Code because their claim is not undisputed,

non-contingent and liquidated. Moreover, it is the Receiver’s position that the Involuntary Petition

has been filed in bad faith, as amply demonstrated by Republic Bank’s prior attempts to strip the

Receiver of his rights to sell the Property, among other factors. Bad faith serves as an independent

basis for dismissing an Involuntary Petition.

        8.     Even if the Court for some reason does not dismiss this case on the for the reasons

discussed above, it should abstain and dismiss this case under section 305(a) of the Bankruptcy

Code. The interests of 318 Retail, LLC and its bona fide creditors are best served by allowing the

Receivership to continue. Republic Bank’s bad faith filing has no bankruptcy purpose. This case


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is essentially a two-party dispute, and the long pendency of the Receivership over the Alleged

Debtor would make a bankruptcy duplicative and wasteful.

    A. Because portions of Republic Bank’s Purported Claims Are Disputed, the
       Involuntary Petition should be Dismissed Pursuant to 11 U.S.C. § 303

        9.      Section 303 of the Bankruptcy Code sets forth the requirements for commencing an

involuntary bankruptcy case. Specifically, section 303(b) of the Bankruptcy Code requires that

a petitioning creditor be a “holder of a claim . . . that is not contingent as to liability or the subject

of a bona fide dispute as to liability or amount. . .” 11 U.S.C. § 303(b). If there is a dispute as to

liability or amount of the claim asserted by a petitioning creditor, then the creditor is not eligible

to file the involuntary petition. In re Skyworks Ventures, Inc., 431 B.R. 573, 577 (Bankr. D.N.J.

2010). In such a situation, dismissal of the petition is appropriate. Id. In 2005, Congress added the

language “as to liability or amount” after “subject of a bona fide dispute” in the subject statute.

H.R.REP. NO. 109–31 (2005). The burden of proof to show that the petitioning creditors' claims

are not subject to bona fide dispute rests with the petitioning creditors. In re Byrd, 357 F.3d 433,

437 (4th Cir.2004); Atlas Mach. & Iron Works, Inc. v. Bethlehem Steel Corp., 986 F.2d 709, 715

(4th Cir.1993). The existence of unresolved litigation, like there is here with Republic Bank in the

Receivership Court, is regularly viewed as evidence of a bona fide dispute. See In re Green Hills

Dev. Co., LLC, 741 F.3d 651, 659 (5th Cir.2014) (“[b]ankruptcy courts routinely consider the

existence and character of pending but unresolved litigation as evidence of a bona fide dispute”);

In re TPG Troy, LLC, 492 B.R. 150, 159 (Bankr.S.D.N.Y.2013) (“Pending litigation over a claim

strongly suggests, but does not establish, the existence of a bona fide dispute.”)

        10.     As the Receiver previously pointed out, Republic Bank is claiming in its filings that

their claim now apparently “exceeds $2,500,000,” according to their brief filed on April 26, 2022.

(Dkt. 26). However, the involuntary petition filed lists an amount of $505,847.25 as the “amount

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of the claim above the value of any lien.” (Dkt. 1). Additionally, the most recent payoff letter

produced by Republic Bank indicated that the balance was $2,421,111.18, and that said figure

included more than $110,000 in legal fees. The Receiver and his counsel have not even come

close to racking up $110,000 in legal fees, despite the fact that much of the Receiver’s time has

been spent dealing with other properties and claimants. The Receiver’s position is that there is a

dispute as the amount of the Petitioning Creditor’s claims. Certainly the legal fees attempting to

be charged by Republic Bank have not been reviewed by any court of law, and Republic Bank

should not be able to seek recovery for things like their time spent pursuing a baseless appeal that

was ultimately dismissed. As set forth above, case law confirms that the existence of a factual

and legal dispute as to the amount of the Petitioning Creditor’s claims is alone sufficient to dismiss

the Involuntary Petition. In re BDC 56 LLC, 330 F.3d 111, 118 (2d Cir. 2003). Dismissal is

appropriate here.

   B. Republic Bank’s Involuntary Petition Appears to Have Been Filed in Bad Faith.

       11.     As explained herein, is the Receiver’s position that the Involuntary Petition was

also filed in bad faith and should therefore be dismissed on that basis. Filing an involuntary

petition against a potential debtor in bad faith constitutes “an independent basis for dismissing

[the] involuntary petition.” In re Forever Green Athletic Fields, Inc., 804 F.3d 328, 330 (3d Cir.

2015); see also Atlas Mach., 986 F.2d at 716 (affirming dismissal after finding that petitioning

creditor’s decision to file involuntary petition was unreasonable, made in bad faith, and done for

an improper purpose).

       12.     The In re Forever Green Athletic Fields, Inc. court explained the underpinnings of

a bad faith dismissal as follows:

       Involuntary Chapter 7 proceedings, it said, are intended to protect creditors from debtors
       who are making preferential payments to other creditors or from the dissipation of the

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       debtor's assets. Creditors who file petitions for other reasons—such as to collect on a
       personal debt, to gain an advantage in pending litigation, or to harass the debtor—act in
       bad faith. 804 F.3d at 332

       13.     The Forever Green Athletic Fields, Inc. court ultimately held that the petitioning

creditor was “bad-faith creditor because he was motivated by two improper purposes: to frustrate

Forever Green's efforts to litigate its claim against ProGreen and to collect on a debt.” Id.

       14.     Here, there is no indication here that Republic Bank filed this Involuntary Petition

to protect creditors from debtors who are making preferential payments to other creditors or from

the dissipation of the debtor's assets. Rather, like in Forever Green, it appears that Republic Bank’s

motivation to file this involuntary petition was simply to frustrate the Receiver’s efforts to sell the

Property, and to collect on its own debt.

       15.     Likewise, this Court explained in the In re Meltzer case that the purpose of an

involuntary bankruptcy case is “to protect [against] the threatened depletion of assets or to prevent

the unequal treatment of similarly situated creditors.” 516 B.R. 504, 514 (Bankr. N.D. Ill. 2014),

quoting In re Letourneau, 422 B.R. 132, 138 (Bankr.N.D.Ill.2010). The court also explained that

creditors are justified in filing an involuntary petition “where exclusive bankruptcy powers and

remedies may be usefully invoked to recover transferred assets, to ‘insur[e] an orderly ranking of

creditors' claims' and ‘to protect against other creditors obtaining a disproportionate share of

debtor's assets.” Id. at 514-515. None of those particular situations are present here. Republic

Bank’s claim will be addressed in an orderly process as part of the Receivership Case once the

Property at issue is sold. Republic Bank has never claimed that there is a need to prevent, for

example, other creditors from obtaining a disproportionate share of debtor’s assets.




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       16.     The Third Circuit in Forever Green explained that the text of Section 303 supports

the conclusion that “Congress intended for bad faith to serve as a basis for both dismissal and

damages.” 804 F.3d at 334.

       17.     There are important policy considerations associated with the Court’s power to

dismiss cases based on bad faith. “At its most fundamental level, the good faith requirement

ensures that the Bankruptcy Code's careful balancing of interests is not undermined by petitioners

whose aims are antithetical to the basic purposes of bankruptcy.” In re Integrated Telecom

Express, Inc., 384 F.3d 108, 119 (3d Cir.2004). The Forever Green court further explained that

“as courts of equity, bankruptcy courts are equipped with the doctrine of good faith so that they

can patrol the border between good- and bad-faith filings.” 804 F.3d at 334, citing In re SGL

Carbon, 200 F.3d at 161. See also In re Little Creek Dev. Co., 779 F.2d 1068, 1072 (5th Cir.1986)

(explaining that the “good faith” requirement protects the “integrity of the bankruptcy courts by

rendering their powerful equitable weapons ... available only to those debtors and creditors with

‘clean hands'”).

       18.     Courts have adopted certain tests to determine whether an involuntary filing has

been made in bad faith. The various tests were described in the Forever Green case as follows:


         [s]ome courts … apply an “improper use” test, which asks whether a “petitioning
         creditor uses involuntary bankruptcy procedures in an attempt to obtain a
         disproportionate advantage for itself, rather than to protect against other
         creditors obtaining disproportionate advantages, particularly when the petitioner
         could have advanced its own interest in a different forum.” Other courts apply
         an “improper purpose” test, which looks to whether the filing “was motivated
         by ill will, malice, or a desire to embarrass or harass the alleged debtor.” Still
         others apply an “objective test,” which assesses what a reasonable person would
         have believed and what a reasonable person would have done in the creditor’s
         position. And yet other courts have applied a broad “totality of the
         circumstances” standard, which effectively combines all the tests and looks to
         both subjective and objective evidence of bad faith.
         Forever Green, 804 F.3d at 335–36.


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       19.     The Forever Green court ultimately looked to the “totality of the circumstances”

standard for determining whether there was bad faith under Section 303. However, under any of

these tests, this Court should see that the Involuntary Petition w a s filed by Republic Bank in

bad faith. As noted above, case law establishes that bad faith exists when an involuntary filing is

made for an improper purpose, such as using it as a tactical advantage in a pending non-bankruptcy

action, to harass a debtor (or, in this case, the Receiver), and when the timing of the filing is

suspicious. See Forever Green, 804 F.3d at 336.        This is not a situation where Republic Bank

can claim that the involuntary bankruptcy is necessary to stop the debtor from dissipating assets

or making preferential transfers to creditors; they likewise cannot claim that the bankruptcy case

is necessary to reorganize an ongoing business. Just the opposite – the Receivership Court has

been overseeing the Receivership and the Property for nearly two years.

       20.     The facts demonstrate that the Involuntary Petition was filed for no purpose other

than to thwart the efforts of the Receiver to sell the Property and have another court decide the

issue of who should have control over the property. See, e.g., Forever Green, 804 F.3d at 336

(explaining that a bad faith filing is evidenced by an involuntary petition “used as a tactical

advantage in pending actions”).

       21.     In the case of In re WLB-RSK Venture, 296 B.R. 509, 513, 515 (Bankr. C.D. Cal.

2003), the court dismissed an involuntary petition after finding that the petitioning creditor the

petition “as a litigation tactic, after his litigation in other courts was unavailing, and in a forum

shopping effort to avoid the latest, still pending litigation in the state court.” As explained herein,

Republic Bank’s efforts to gain control of the Property in state court have been repeatedly

unsuccessful, and thus it appears that they are now moving their claims to this Court to try to get

control of the Property, just as the creditor did in In re WLB-RSK Venture. The court in Quinto &



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Wilks, 531 B.R. at 609 similarly explained that “spite, ill will or maliciousness” are indicators of a

bad faith filing. The filing of an involuntary petition despite knowing that a claim was the subject

of a bona fide dispute has similarly been an indication of a bad faith filing. See, e.g., Forever

Green, 804 F.3d at 336. As mentioned above, Republic Bank has fought the Receiver at every turn

in the Receivership case. Republic Bank then filed this action and not only deliberately failed to

provide notice of the filing to the Receiver, but also strenuously objected to the Receiver even

being able to state his position regarding the filing. (Dkt. 16 and 26).

       22.     Based on the foregoing, the Receiver sees adequate justification for this Court to

dismiss the instant petition and assess sanctions against Republic Bank for the filing of this action.

Section 303(i) describes several forms of relief a bankruptcy court can award a debtor when an

involuntary case is dismissed other than on the consent of all petitioners and the debtor. Section

303(i)(1) permits the court to enter judgment against the petitioners for “(A) costs; or (B) a

reasonable attorney’s fee.” 11 U.S.C. § 303(i)(1). Section 303(i)(2) adds that if any petitioner filed

the petition in “bad faith,” the court can enter judgment against that petitioner for “(A) any

damages proximately caused by such filing; or (B) punitive damages.” 11 U.S.C. § 303(i)(2).

   C. Abstaining and Dismissing Republic Bank’s Involuntary Petition Under Section 11
      U.S.C. § 305 is Appropriate

       23.     Section 305 provides that “[t]he court, after notice and a hearing, may dismiss a

case under this title, or may suspend all proceedings in a case under this title, at any time if - (1)

the interests of creditors and the debtor would be better served by such dismissal or suspension. .

. .” 11 U.S.C. § 305(a)(1). As explained herein, even in the event that this Court does not dismiss

the Involuntary Petition for failing to state a claim under section 303 of the Bankruptcy Code, this

Court should nonetheless abstain and dismiss this case under section 305 of the Bankruptcy Code.




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       24.     “Whether to dismiss a case or abstain pursuant to section 305 is committed to the

discretion of the bankruptcy court, and is determined based upon the totality of the circumstances.”

In re Northshore Mainland Servs., Inc., 537 B.R. 192, 203 (Bankr. D. Del. 2015)

       25.     There are various factors that a bankruptcy court can evaluate in determining

whether to abstain , including the following: (1) economy and efficiency of administration; (2)

whether another forum is available to protect the interests of both parties or there is already

a pending proceeding in state court; (3) whether federal proceedings are necessary to reach a

just and equitable solution; (4) whether there is an alternative means of achieving an equitable

distribution of assets; (5) whether the debtor and the creditors are able to work out a less expensive

out-of-court arrangement which better serves all interests in the case; (6) whether a state insolvency

has proceeded so far in those proceedings that it would be costly and time consuming to start afresh

with the federal bankruptcy process; and (7) the purpose for which bankruptcy jurisdiction is

sought. In re Birchall, 381 B.R. 13, 18 (Bankr. D. Mass. 2008).

       26.     As explained above, Republic Bank’s filing of the Involuntary Petition is just

another in the long line of filings designed to derail the Receivership and the proceedings in the

Receivership Court. These factors listed above weigh in favor of this Court abstaining and

dismissing Republic Bank’s Involuntary Petition. Certainly from an efficiency and economic

perspective, it makes sense for this case to proceed in the Receivership Court, where the

proceedings have been pending for nearly two years, rather than starting over now. The time spent

by the Receiver and his retained professionals, as well as all of the attorneys and parties involved

in the Receivership Case, have been significant. The Receiver also did procure two separate offers

to purchase the Property at issue. There is clearly another adequate forum to address these issues,




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namely the Receivership Case pending in state court; federal proceedings are not necessary to

address the rights of the parties here.

       27.     This is essentially two-party dispute between the Receiver and Republic Bank over

control of the Property at issue, and the right to control the sale of the Property. The Receivership

Court can decide on Republic Bank’s claims against 318 Retail, LLC, as the Receivership Court

is also dealing with the claims of other creditors relating to the receivership. The Receivership

Court is available to protect the interests of both parties and determine the validity and proper

amount of Republic Bank’s alleged claims. See In re Downstate News Grp., Inc., No. 05-95549,

2006 WL 1520267, at *2 (Bankr. C.D. Ill. May 31, 2006) (dismissing involuntary petition after

finding that the requirements of Section 303 were not met, and explaining that “[e]ven if the Court

had not found it appropriate to dismiss the instant involuntary petition pursuant to 11 U.S.C. §

303(b)(1), the Court would have found it proper to abstain from this matter under the terms of 11

U.S.C. § 305(a)(1).). The Downstate News Group court further explained that “[i]t is well

established that the use of an involuntary bankruptcy filing is an improper method of resolving a

two-party dispute…here is no efficiency of administration to be served by the filing of a Chapter

7 bankruptcy case in this matter, as that would merely add another layer of administrative effort

and expense…neither party in this matter can demonstrate prejudice if they are forced to litigate

their dispute in a state court of competent jurisdiction.” Id.

       28.     Like in the Downstate News Group case, this Court should see that abstention is

appropriate as the administration of justice would not be served by transferring this matter to a

new venue. As explained herein, the Receivership has been pending in the Circuit Court of Cook

County for nearly two years. In relation to the other piece of real property subject to the

Receivership, the penthouse at 330 S. Michigan Avenue, the Receiver sold the property and paid



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all creditors, including secured mortgagees. There is no reason to start over for 318 Retail, LLC

due to a vexatious litigant.

        29.     In determining whether to abstain, it is appropriate for a court to consider the length

of time that a receiver has acted under a receivership order. See e.g., In re Starlite Houseboats,

Inc., 426 B.R. 375, 389 (Bankr. D. Kan. 2010) (dismissing the bankruptcy case under §

305(a)(1) after noting that a state court receivership had been pending for eight months); In re

Michael S. Starbuck, Inc., 14 B.R. 134, 135 (Bankr. S.D.N.Y. 1981) (dismissing involuntary

petition where a receivership had been operating for 14 months); In re Packard Square LLC, 575

B.R. 768, 782 (Bankr. E.D. Mich. 2017) (dismissing case where receivership pending for eleven

months). Abstention is appropriate here. There is no reason this Court should take over a case that

has been pending in the Receivership Court for nearly two years.

         WHEREFORE, the Receiver, James E. Sullivan, respectfully requests that the Court enter

an Order dismissing the involuntary bankruptcy petition filed by Republic Bank of Chicago against

the Alleged Debtor, awarding sanctions in the form of attorneys fees, costs, and punitive damages,

and granting any further relief this Court deems fair and equitable.


Dated: June 15, 2022                                   Respectfully Submitted,
                                                    By:/s/ Thomas G. Gardiner
                                                       Thomas G. Gardiner
                                                       Shannon V. Condon
                                                       GARDINER, KOCH, WEISBERG & WRONA
                                                       53 West Jackson Blvd. Suite 950
                                                       Chicago, Illinois 60604
                                                       Ph:(312) 362-0000
                                                       Fax: (312)362-0440
                                                       tgardiner@gkwwlaw.com
                                                       scondon@gkwwlaw.com

                                                       Attorney for Receiver James E. Sullivan



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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2022, I electronically filed the foregoing Motion for

Dismissal and/or Abstention in Relation to Involuntary Bankruptcy Case, with the Clerk of the

United States District Court for the Northern District of Illinois, Bankruptcy Division using the

CM/ECF system. Copies of the foregoing were served upon counsel of record via the CM/ECF

system.




                                                 By:/s/ Shannon V. Condon
                                                    GARDINER, KOCH, WEISBERG & WRONA
                                                    53 West Jackson Blvd. Suite 950
                                                    Chicago, Illinois 60604
                                                    Ph:(312) 362-0000
                                                    Fax: (312)362-0440
                                                    scondon@gkwwlaw.com




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